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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

NETCHOICE, LLC d/b/a NETCHOICE, a
501(c)(6) District of Columbia organization; and
COMPUTER & COMMUNICATIONS INDUS-                      Civil Action No.
                                                      4:21-cv-00220-RH-MAF
TRY ASSOCIATION d/b/a CCIA, a 501(c)(6)
non-stock Virginia corporation,

       Plaintiffs,

v.

ASHLEY BROOKE MOODY, in her official ca-
pacity as Attorney General of the State of Florida;
JONI ALEXIS POITIER, in her official capacity as
Commissioner of the Florida Elections Commis-
sion; JASON TODD ALLEN, in his official capac-
ity as Commissioner of the Florida Elections Com-
mission; JOHN MARTIN HAYES, in his official
capacity as Commissioner of the Florida Elections
Commission; KYMBERLEE CURRY SMITH, in
her official capacity as Commissioner of the Flor-
ida Elections Commission; and PATRICK GIL-
LESPIE, in his official capacity as Deputy Secre-
tary of Business Operations of the Florida Depart-
ment of Management Services,

     Defendants.
_________________________________

     PLAINTIFFS' MEMORANDUM OF LAW IN SUPPORT OF MOTION
                  FOR PRELIMINARY INJUNCTION
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                                 INTRODUCTION
      S.B. 7072 strips online service providers of their First Amendment right to

exercise editorial judgment over speech on their private property. Enacted on May

24, this new law (the “Act”) compels those providers to host content that violates

their policies and community standards. It broadly prohibits them from removing or

even limiting exposure of material posted by a loosely defined set of “journalistic

enterprises,” or material “by or about” anyone who files papers to run as a political

candidate in Florida. It dictates how they must arrange and prioritize content. And it

imposes an unintelligible mandate of “consistent” moderation that invites arbitrary,

standardless enforcement. In short, the Act undermines these companies’ vital ef-

forts to protect themselves and their users from an almost unimaginable variety of

harmful, offensive, and unlawful material: terrorist propaganda, child sexual abuse

imagery, hostile foreign governments’ disinformation about U.S. politics or public

health, fraudulent schemes, bullying aimed at teenagers, calls for genocide or racist

violence, and useless and annoying “spam”—to give just a few examples.

      Statements from Florida officials make clear that the Act was adopted specif-

ically to retaliate against certain technology companies, based on the belief that those

companies’ content-moderation decisions are driven by an objectionable political

“ideology.” That is why the Act’s restrictions target a group of “social media

platforms,” leaving other entities providing similar services untouched. And that is



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why the Legislature—to ensure that favored businesses like Disney and Universal

Studios are not “caught up in this”—redefined “social media platform” at the

eleventh hour to exclude any service controlled by an entity that “owns and operates

a theme park.” Ch. 2021-32, § 501.2041(1)(g), at 9-10, Laws of Fla. (hereinafter

“Sec.”).1 But even the Act’s supporters recognized the dangers of the State’s

approach. As one legislator put it: “My concern is about potential candidates, about

crazy people, Nazis and child molesters and pedophiles who realize they can say

anything they want—and by the way it can’t even be deprioritized under this bill,

it’s got to be at the top of the page—if all they do is fill out those two pieces of paper

[to qualify as a candidate].”2

                                     *      *      *

        Plaintiffs are two leading trade associations whose members include compa-

nies that qualify as “social media platforms” under the Act and now face broad

liability for their editorial decisions. Schruers ¶6; Szabo ¶5. Because the Act will




   1
     Jim Saunders, Florida’s “Big Tech” Crackdown Bill Goes to DeSantis, but
with a Special Exemption for Disney (Apr. 30, 2021),
https://www.cltampa.com/news-views/florida-news/article/21151908/floridas-big-
tech-crackdown-bill-goes-to-desantis-but-with-a-special-exemption-for-disney.
   2
     Frank Cerabino, Could Gov. DeSantis’ Trumpy attack on Big Tech lead to new
Florida theme park?, The Palm Beach Post (May 26, 2021), https://www.palm-
beachpost.com/story/news/columns/2021/05/26/cerabino-how-can-big-tech-side-
step-new-florida-law-build-theme-park/7433683002/.


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profoundly harm these members’ everyday content-moderation efforts, restricting

their speech and threatening the very nature of their online communities, Plaintiffs

seek to enjoin its enforcement before it takes effect on July 1, 2021. Plaintiffs meet

all the requirements for obtaining a preliminary injunction.

      First, Plaintiffs are likely to succeed on the merits. Disguised as an attack on

“censorship” and “unfairness,” the Act in fact mounts a frontal attack on the targeted

companies’ core First Amendment right to engage in “editorial control and

judgment.” Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258 (1974). The Act

imposes a slew of content-, speaker-, and viewpoint-based requirements that

significantly limit those companies’ right and ability to make content-moderation

choices that protect the services and their users—and that make their services useful.

The State has no legitimate interest, much less a compelling one, in bringing about

this unprecedented result. Moreover, the law is anything but narrowly tailored: its

blunderbuss restrictions do nothing to protect consumers or prevent deceptive

practices, but instead throw open the door to fraudsters, spammers, and other bad

actors who flood online services with abusive material. In short, the Act runs afoul

of the basic First Amendment rule prohibiting the government from “[c]ompelling

editors or publishers to publish that which reason tells them should not be

published.” Id. at 256, 258.




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      The Act is also preempted by the Communications Decency Act (“Section

230”)—a federal law that specifically protects online service providers’ right to

engage in “private blocking and screening of offensive material” and expressly pro-

hibits States from adopting conflicting regulations. 47 U.S.C. § 230. Congress

enacted Section 230 in part “to encourage service providers to self-regulate the dis-

semination of offensive material over their services,” Zeran v. America Online, Inc.,

129 F.3d 327, 331 (4th Cir. 1997), and to allow “computer service providers to

establish standards of decency without risking liability for doing so,” Domen v.

Vimeo, Inc., 991 F.3d 66, 73 (2d Cir. 2021) (citation omitted). Florida’s new law

would impose liability for precisely the editorial choices that Section 230 was

designed to protect.

      Second, if the Act were allowed to go into effect as scheduled, Plaintiffs’

member companies would immediately face an impossible choice: forgo exercising

their First Amendment rights to moderate content, or violate the law and expose

themselves to investigation, enforcement action, and massive statutory fines and

penalties. This loss of First Amendment rights is a paradigmatic irreparable injury.

See, e.g., Otto v. City of Boca Raton, 981 F.3d 854, 870 (11th Cir. 2020). And that

injury runs parallel to the immense practical harm that the Act would inflict on

Plaintiffs’ member companies if they are unable to meet the expectations of their




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users both to provide relevant and useful information and to protect them from

objectionable or dangerous content.

       Third, the balance of equities and public interest tilt heavily in favor of

injunctive relief. It is well settled that neither the State nor the public has any interest

in enforcing an unconstitutional law. Here, moreover, the public would affirmatively

benefit from an injunction. If allowed to take effect, Florida’s radical attack on

content moderation would have a devastating effect not just on the operations and

design of the covered online services, but also on those hundreds of millions of users

who would face a much more dangerous and toxic online experience. Plaintiffs

respectfully ask the Court to enjoin enforcement of the Act while the merits of their

full challenge is resolved.

                                   BACKGROUND
       A.     Plaintiffs’ Members Engage in Content Moderation That Is Vital
              to Their Services’ Operation and Their Users’ Protection.

       Plaintiffs’ members operate services that make available a wide spectrum of

user-created content, including text, videos, audio, and photographs. Veitch ¶3; Potts

¶4; Pavlovic ¶2. Because humans are humans, these communications comprise the

best and the worst of human thought, and everything in between. The best includes

material that is culturally significant, highly informative, brilliantly funny, and

politically engaging. Schruers ¶10. But unfortunately, any online service that allows




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users to upload material will find some percentage of users attempting to post

dangerous, illegal, or offensive content. Rumenap ¶¶3-5.

      Without sustained effort to restrict such content—and users who disseminate

it—many online services would be flooded with objectionable material, drowning

out good content and making their services far less enjoyable, useful, and safe.

Schruers ¶12; Rumenap ¶5. That is why many of Plaintiffs’ members have rules

governing what kinds of material and uses are and are not permitted. And that is why

these companies have invested untold time, resources, and people in moderating

such content. These significant editorial efforts reflect the sheer volume of the user-

generated content posted online. Schruers ¶9; Veitch ¶6; Pavlovic ¶8.

      Content moderation takes many forms, including both human review and au-

tomated processes that moderate content on a large scale. Schruers ¶14; Veitch ¶14;

Potts ¶14. Sometimes it involves removing objectionable content or terminating the

accounts of users who post it. Other times it involves decisions about how to arrange

or prioritize content, whether to recommend it to users, and how easy it should be to

find. Moderation also includes “age-gating,” which makes certain content accessible

only to adults or teenagers. Schruers ¶15; Veitch ¶11. In addition, moderation means

giving users tools to decide for themselves what content they wish to avoid (e.g., by

blocking other users), making content inaccessible to their children, or allowing

users to block material that offends their sensibilities. Schruers ¶16; Veitch ¶30;



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Potts ¶18. Moderation can also involve affirmative speech by service providers, such

as warning labels, disclaimers, or commentary informing users, for example, that

certain material has not been verified by official sources or may contain upsetting

imagery. Schruers ¶17; Veitch ¶13.

      Moderation is equally necessary for even the most basic online functions, like

searching for local businesses, shopping in an online store, or arranging material by

topic. Schruers ¶18; Pavlovic ¶¶10-13. Without prioritizing and ordering the near-

infinite volume of online content, online services would have no practical way to

deliver the content users want—or need—to see. For search engines, social media,

and many other digital services, the ability to curate information and target messages

most relevant to the user may be their most important feature, valued by users,

communicators, and advertisers alike. Szabo ¶11; Veitch ¶¶30, 34.

      In addition to preserving a safe and useful online environment, content

moderation is one vital way that certain digital services create community norms.

Pavlovic ¶¶6-8. Moderation rules and enforcement actions reflect a service’s

commitment to build and preserve the online environment users experience. Choices

about whether to allow pornography, depictions of violence, virulent hate speech,

disinformation, get-rich-quick scams, and “quack” medical cures, for example, all

reflect the kind of online community the service wishes to foster and what speech

and speakers it wishes to avoid. Schruers ¶19; Veitch ¶¶9-10. Indeed, many users



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choose to use online services based on their content moderation policies and

practices, which vary from service to service depending on its particular norms,

standards, and commitments.

         To serve these goals in the face of a massive and ever-changing body of

content requires judgment—normative, context-specific choices about which people

can (and do) disagree. Schruers ¶23; Pavlovic ¶8. That is especially true for

Plaintiffs’ members, some of whom are called upon to make moderation determina-

tions on a vast scale, sometimes billions of times each day. Esparza ¶4. To do so,

services must have freedom to adopt (and adapt) policies that allow them to provide

a

convenient, safe, and free community for users. Schruers ¶25; Veitch ¶21.

         B.    In Intent and Operation, the Act Proscribes and Burdens a Wide
               Range of Moderation Judgments.
         S.B. 7072 aims squarely at the content-moderation choices and judgments of

Plaintiffs’ member companies. Compl. ¶4. In enacting the law—which was signed

on May 24, 2021 and is set to take effect on July 1, 2021—the Legislature and

Governor ignored the constitutional concerns flagged in two legislative reports.

Senate Analysis, S.B. 7072, pp. 22-23 (Apr. 16, 2021);3 House Staff Analysis, H.B.




    Available at https://www.flsenate.gov/Session/Bill/2021/7072/
    3

Analyses/2021s07072.pre.ap.PDF


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7013, pp. 16-17 (Mar. 15, 2021).4 Indeed, the Act seems purpose-built to infringe

the targeted companies’ constitutional rights.

              1.     The Act’s Improper Purpose.

        The Act’s supporters made no secret of their goal: to retaliate against a set of

online services (pejoratively labelled “Big Tech”) for the judgments expressed

through their content-moderation decisions, which those supporters consider

politically distasteful. Compl. ¶5. As Governor DeSantis officially announced upon

signing the bill: “If Big Tech censors enforce rules inconsistently, to discriminate in

favor of the dominant Silicon Valley ideology, they will now be held accountable.”5

The same Signing Statement was littered with similar declarations admitting—

indeed celebrating—the effort to attack the perceived political viewpoints of the tar-

geted companies. See id. (Statement of Lt. Gov. Nunez: touting the Act as intended

to “tak[e] back the virtual public square” from “the leftist media and big

corporations”); id. (Statement of Rep. Ingoglia: expressing a similar intent to protect

“our freedom of speech as conservatives”). In short, the statute’s avowed purpose is




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    Available at https://www.myfloridahouse.gov/Sections/Documents/load-
doc.aspx?FileName=h7013a.APC.DOCX&DocumentType=Analysis&Bill-
Number=7013&Session=2021
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     News Release: Governor Ron DeSantis Signs Bill to Stop the Censorship of
Floridians by Big Tech (May 24, 2021), https://www.flgov.com/2021/05/24/gover-
nor-ron-desantis-signs-bill-to-stop-the-censorship-of-floridians-by-big-tech/
(“Signing Statement”) (hereinafter “Signing Statement”)


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to punish disfavored, out-of-state businesses and to stop or deter them from

exercising their First Amendment rights in ways the State dislikes. Compl. ¶3.

             2.     The Act Purports to Cover Nearly All Types of Moderation
                    Choices.

      The Act applies to “social media platforms,” but that poorly defined term

would seem to cover nearly any online service that meets certain numerical

thresholds for annual gross revenue ($100 million) or monthly users (100 million).

Sec. 501.2041(1)(g). At a minimum, the term sweeps in many of Plaintiffs’ members

whom nobody would think of as “Big Tech,” including for example, Etsy (an e-

commerce site focused on handmade or vintage items and craft supplies) and

Pinterest (a visual discovery engine for finding ideas). Pavlovic ¶¶2, 5.

      For covered services, the law regulates four broad categories of content

moderation—ominously (but misleadingly) labeled “censorship,” “deplatforming,”

“shadow banning,” and “post-prioritization.” Compl. ¶¶5, 25, 68a & n.37. Taken

together, these categories reach virtually anything a digital service could do with its

content—not just removing content or users, but taking any action to “restrict,”

“regulate,” “inhibit the publication,” or “limit or eliminate the exposure” of content

(Sec. 501.2041(1)(b), (c), (e), (f))—actions that many users would consider essential

aspects of these services. See, e.g., Rumenap ¶6; Esparza ¶7; Szabo ¶11. The Act’s

definition of “censor” further includes “post[ing] an addendum to any content or

material posted by a user” (Sec. 501.2041(1)(b))—that is, the service’s own


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affirmative speech. The definition of “shadow ban” is equally sweeping: it includes

any “action by a social media platform, through any means, whether the action is

determined by a natural person or an algorithm, to limit or eliminate exposure of a

user or content or material posted by a user to other users.” Sec. 501.2041(1)(f). This

appears to encompass providers’ countless choices to restrict (or not recommend)

material based on the user’s age, interests, or sensitivities. Compl. ¶47; Veitch ¶¶29-

30; Potts ¶¶26-27. And the Act’s restrictions on “post-prioritization” algorithms will

frequently require online services to display content in “sequential or chronological”

order—effectively prohibiting displays of content based on, for example, relevance,

usefulness, or interest to particular users, including in response to search queries.

Sec. 501.2041(1)(e); Pavlovic ¶13.

             3.     The Act Prohibits and Burdens Content Moderation.

      Using these broad definitions of its scare-terms, the Act imposes sweeping

new mandates on a vast array of content-moderation judgments.

      All-Out Ban on Moderating Content Posted by “Journalistic Enterprises.”

The Act prohibits virtually all moderation of content posted by so-called

“journalistic enterprises.” Compl. ¶7c. This expansive category reaches far beyond

traditional news outlets. It includes any entity “doing business in Florida” that

operates under an FCC broadcast license, operates a cable channel, or simply meets

certain minimum audience and publication or production thresholds—covering



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anyone from celebrity influencers to recognized hate groups. Sec. 501.2041(1)(d).

When it comes to such entities, “a social media platform may not take any action to

censor, deplatform, or shadow ban a journalistic enterprise based on the content of

its publication or broadcast.” Sec. 501.2041(2)(j). There is a single content-based

exception—for “obscene” material. Id. Thus, if any “journalistic enterprise” posts

material that is fraudulent on its face, openly embraces ethnic cleansing or white

supremacy, or otherwise clearly violates a service’s rules, the provider is

categorically barred from removing it—or even making it less visible or adding a

warning or label. Veitch ¶34; Potts ¶22; Pavlovic ¶11. And since the provision

contains no scienter requirement, services can violate it without knowing that they

are moderating content from a “journalistic enterprise.” Compl. ¶102; Veitch ¶34.

      Broad Prohibitions on Content Moderation of Political “Candidates.” The

Act imposes similar restrictions on content associated with political candidates—a

term including anyone “who files qualification papers and subscribes to a

candidate’s oath as required by law.” Fla. Stat. § 106.011(3)(e). First, a “social

media platform” “may not willfully deplatform a candidate for office who is known

by the social media platform to be a candidate”—by, for example, suspending the

account of a user who repeatedly violates the website’s policies. Fla. Stat.

§ 106.072(2). The provision essentially immunizes any candidate from whatever

content and conduct rules apply to all other users. Second, during election cycles,



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“[a] social media platform may not apply or use post-prioritization or shadow

banning algorithms for content and material posted by or about a user who is known

by the social media platform to be a candidate.” Sec. 501.2041(2)(h) (emphasis

added). Together with the statute’s broad definitions of “shadow banning” and “post-

prioritization,” this provision essentially prohibits applying automated moderation

tools to any material from—or merely mentioning—a Florida candidate. Compl.

¶7b. Covered services may not “limit” the “exposure” of such content—or even

“place” such content “ahead of, or below, or in a more or less prominent position

than others in a newsfeed, a feed, a view, or in search results.” Sec. 501.2041(1)(e),

(f). That prohibition applies no matter how dangerous, egregious, or illegal the

content is; it protects, for example, deliberate disinformation about public health,

threats or graphic depictions of violence, and misleading “deep fakes.” Compl. ¶7b;

Potts ¶¶23-24; Veitch ¶33; Pavlovic ¶¶ 10-12.

      Mandate for “Consistent” Moderation. Next, the Act imposes a broad, unde-

fined consistency mandate across all moderation: “A social media platform must

apply censorship, deplatforming, and shadow banning standards in a consistent man-

ner among its users.” Sec. 501.2041(2)(b). The Act does not define “consistent”

application, and it offers no guidance on when a service’s millions or billions of

users or posts are comparable enough to require similar treatment, or when changed

circumstances, new insights, or updated policies might permit different treatment.



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Compl. ¶7d; Veitch ¶27-28; Potts ¶¶26-27. The Act further limits services’ ability

to react to new threats by arbitrarily prohibiting rule changes “more than once every

30 days,” and requiring notice of all rule changes before they may be enforced. Sec.

501.2041(2)(c); see Szabo ¶23; Potts ¶28.

      Requirement to Allow Opt-Outs of Algorithms. Due to their scale, many online

services use algorithms for a large number of content moderation decisions. See

Schruers ¶¶23, 29; Veitch ¶¶15-16. Yet the Act limits services from using algorithms

for content moderation if the user objects. Services must annually “[a]llow a user to

opt out of post-prioritization and shadow banning algorithm categories to allow

sequential or chronological posts and content.” Sec. 501.2041(2)(f)(2). This new

right gives every user the power to constrain how online services moderate, arrange,

and present content on their private services. Compl. ¶7e.

      Compelled Speech Obligations, including Detailed Justifications for Every

Moderation Action. The Act includes numerous compelled speech mandates that

further burden content moderation. For example, a covered service must provide a

“mechanism” for requesting, and “upon request, [provide] a user with[,] the number

of other platform participants who were provided or shown content or posts.” Sec.

501.2041(2)(e). Further, the Act prohibits actions to “censor” or “shadow ban” any

content, or to “deplatform” any user, without “notifying the [affected] user.” Sec.

501.2041(2)(d)(1). This user- and content-specific notice must be provided within 7



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days, and it must take a specific written form: a “thorough rationale explaining the

reason” for the moderation, as well as “a precise and thorough explanation of how

the service became aware” of the content at issue, including a “thorough explanation

of the algorithms used, if any, to identify or flag the user’s content or material as

objectionable.” Sec. 501.2041(3). In addition, services must “categorize algorithms

used for post-prioritization and shadow banning” and annually notify users “on the

use of algorithms.” Sec. 501.2041(2)(f), (2)(g). Finally, the Act vaguely requires

services to disclose to candidates that they have “willfully provide[d] free

advertising for a candidate.” Sec. 106.072(4); see also Compl. ¶69. These provisions

not only compel speech, and potentially provide a roadmap to allow bad actors to

escape detection (Rumenap ¶10; Potts ¶28), but, given the scale of the content

moderation efforts at issue, they cumulatively impose an effectively impossible

burden on many of Plaintiffs’ members. Veitch ¶32; Potts ¶¶28-30.

      Arbitrary and Selective Prohibitions on State Contracting and Benefits.

Section 287.137 of the Act imposes unique impairments on covered media services

found liable for—or even accused of—violating any federal or state antitrust law.

Compl. ¶72. Companies in every other industry may violate (or be accused of

violating) antitrust laws without consequence under these provisions. But if the

offending person or entity “operates as a social media platform,” the online service

(as well as a broad array of “affiliates” of any entity found liable) can be blacklisted



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as an “antitrust violator vendor,” barred from contracting with the State, and made

ineligible for a host of other widely available tax and economic benefits. Fla. Stat.

§ 287.137(1)(c), (2)(a)-(b), (5).

      Theme-Park Exemption. When faced with imposing these unprecedented

burdens on a few favored entities with substantial Florida ties, the State balked.

Compl. ¶3. To ensure that those entities—most notably, The Walt Disney Company

and Comcast Corporation, which owns Universal Studios—were not “caught up” in

its effort to punish “Silicon Valley,” the Legislature carved out of its definition of

“social media platform” any service “operated by a company that owns and operates

a theme park or entertainment complex.” Sec. 501.2041(1)(g); Saunders, supra at 2.

Not surprisingly, this last-minute exemption comes with no explanation of why

affiliation with a theme park warrants exclusion from the Act’s onerous

requirements. Compl. ¶117. But that is self-evident: Florida’s undisguised favorit-

ism for politically favored entities with major footprints in the State underscores the

law’s arbitrary scope and standards.

             4.     The Act’s Broad Enforcement Powers and Draconian Sanctions.

      The Act’s sweeping restrictions are backed by the threat of lawsuits and dra-

conian penalties, and they empower state authorities to conduct unprecedented

investigations and enforcement actions, thus chilling private services’ exercise of

editorial judgment. Compl. ¶¶10, 23; Rumenap ¶11; Potts ¶22. The Attorney General



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may investigate any suspected violation of Section 501.2041, “subpoena any

algorithm used by a social media platform related to any alleged violation,” and

bring civil or administrative enforcement actions. Sec. 501.2041(5). Further, the Act

creates a private right of action: any “user” may sue if she (1) believes moderation

standards were not applied “in a consistent manner” or (2) did not receive the

required notice following a moderation action. Sec. 501.2041(6). Courts may award

up to $100,000 in statutory damages per violation, plus actual and potentially

punitive damages. Id. For the Act’s provision barring “deplatforming” of candidates,

the Florida Elections Commission can seek penalties of $250,000 per day for

statewide candidates and $25,000 per day for other candidates. Sec. 106.072(3). This

threat is imminent. The Governor’s official press release promised to hold the

covered online businesses “accountable,” to “stand up to these technological

oligarchs,” and ensure that “real Floridians” are “guaranteed protection against the

Silicon Valley elites.” Signing Statement; Compl. ¶26. The Attorney General has

similarly threatened aggressive enforcement under the Act.6

      Plaintiffs filed suit almost immediately after S.B. 7072 was signed, and now

seek a preliminary injunction enjoining enforcement of its operative provisions,

which violate the First Amendment and are expressly preempted by federal law.



6
 Ashley Moody (@AG Ashley Moody), Twitter (May 27, 2021, 5:15PM),
https://twitter.com/AGAshleyMoody/status/1398025014448996358


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                                    ARGUMENT
      “The chief function of a preliminary injunction is to preserve the status quo

until the merits of the controversy can be fully and fairly adjudicated.” Robinson v.

Att’y Gen., 957 F.3d 1171, 1178 (11th Cir. 2020). A plaintiff seeking a preliminary

injunction must show that “(1) it has a substantial likelihood of success on the merits;

(2) irreparable injury will be suffered unless the injunction issues; (3) the threatened

injury to the movant outweighs whatever damage the proposed injunction may cause

the opposing party; and (4) if issued, the injunction would not be adverse to the

public interest.” Otto, 981 F.3d at 860 (citations omitted). Plaintiffs easily meet each

requirement here.

I.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.
      S.B. 7072 is a frontal attack on the federal constitutional and statutory rights

of Plaintiffs’ member companies. The Act strips those companies of the right to

decide whether to host or moderate specific categories of speech and speakers, forces

them to guess what amounts to “consistent” treatment of billions of online posts,

affirmatively compels them to engage in speech, and threatens them with state-

driven investigations and stringent statutory damages if they fail to comply—all in

violation of bedrock First Amendment principles. The Act serves no legitimate

governmental interest, let alone a “compelling” one, and it cannot survive any degree

of constitutional scrutiny, much less the strict scrutiny that is required. Moreover,

the Act is preempted by the Communications Decency Act, as it seeks to impose

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liability on interactive computer service providers for engaging in the “editorial and

self-regulatory functions” that Congress enacted Section 230 to protect. Zeran, 129

F.3d at 331.

      A.       The Act Violates the First Amendment.
      At its core, S.B. 7027 upends the rights of a targeted group of online services

to decide what material to display and how that material should be presented. In

other words, the Act takes away these private companies’ ability to make editorial

judgments—a fundamental component of the “freedom of speech” protected by the

First Amendment. Indeed, the Act is designed to single out certain online services

for special limits on their speech because of the State authorities’ open hostility to

their perceived political views and “ideology.” The law is blatantly unconstitutional.

               1.   The First Amendment Protects Private Online Services’ Right to
                    Make Editorial Judgments About Content Moderation.

      A wealth of precedent confirms that “compelling a private corporation to

provide a forum for views other than its own may infringe the corporation’s freedom

of speech.” Pacific Gas & Elec. Co. v. Pub. Utils. Comm’n, 475 U.S. 1, 9 (1986).

      In Tornillo, the Supreme Court invalidated an earlier effort by the State of

Florida to interfere with the editorial judgments of private entities. In the name of

eliminating perceived bias in news coverage, Florida compelled newspapers to

publish political candidates’ responses to criticism appearing in the newspapers. 418

U.S. at 250, 258. In rejecting this law, the Court explained that “the choice of


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material to go into a newspaper, and the decisions made as to limitations on the size

and content of the paper, and treatment of public issues and public officials—

whether fair or unfair—constitute the exercise of editorial control and judgment”

protected by the Constitution. Id. Specifically, “[t]he Florida statute operate[d] as a

command in the same sense as a statute or regulation forbidding appellant to publish

specified matter. Governmental restraint on publishing need not fall into familiar or

traditional patterns to be subject to constitutional limitations on governmental pow-

ers.” Id. at 256. Simply put, “the Florida statute fail[ed] to clear the barriers of the

First Amendment because of its intrusion into the function of editors.” Id. at 258.

      Since Tornillo, this principle—that “the editorial function itself is an aspect

of ‘speech,’” Denver Area Educ. Telecommunications Consortium, Inc. v. FCC, 518

U.S. 727, 737–38 (1996) (plurality opinion)—has been applied in countless contexts

involving a wide range of entities. E.g., Ark. Educ. TV Comm’n v. Forbes, 523 U.S.

666, 674 (1998) (“When a public broadcaster exercises editorial discretion in the

selection and presentation of its programming, it engages in speech activity.”). In

Pacific Gas, for example, the Court invalidated a state law compelling a heavily

regulated private utility to include objectionable third-party speech in its billing

envelopes. 475 U.S. at 20-21; see also Turner Broad. Sys. v. FCC, 512 U.S. 622,

636 (1994) (First Amendment protects cable companies’ right to “transmit speech,”

including by “exercising editorial discretion over which stations or programs to



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include in its repertoire”); accord Warner Cable Cmmc’ns v. Niceville, 911 F.2d

634, 637 (11th Cir. 1990) (cable operator has First Amendment interest in “its

editorial discretion over which stations or programs to include in its repertoire”)

(citation omitted).

      These principles are not “restricted to the press”; they are “enjoyed by

business corporations generally and by ordinary people engaged in unsophisticated

expression as well as by professional publishers.” Hurley v. Irish-Am. Gay, Lesbian,

and Bisexual Grp., 515 U.S. 557 (1995) (invalidating Massachusetts public-

accommodation law as to a parade organizer that wished to exclude groups whose

message it rejected). That is because “a private speaker does not forfeit constitutional

protection simply by combining multifarious voices.” Id. at 569-70. Rather, “the

presentation of an edited compilation of speech generated by other persons … fall[s]

squarely within the core of First Amendment security.” Id. at 570 (giving as

examples cable operators’ selection of programming, newspaper op-ed pages, and

“the simple section of a paid noncommercial advertisement for inclusion in a daily

paper”) (citations omitted); accord Sorrell v. IMS Health Inc., 564 U.S. 552, 570

(2011) (“dissemination of information” is “speech within the meaning of the First

Amendment” (citing Bartnicki v. Vopper, 532 U.S. 514, 527 (2002) (“[I]f the acts of

‘disclosing’ and ‘publishing’ information do not constitute speech, it is hard to

imagine what does fall within that category”) (cleaned up)); cf. Manhattan Cmty.



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Access Corp. v. Halleck, 139 S. Ct. 1921, 1930 (2019) (“when a private entity

provides a forum for speech,” it may “exercise editorial discretion over the speech

and speakers in the forum”).

      Recognizing that there is “no basis for qualifying the level of First

Amendment scrutiny that should be applied” to the Internet, Reno v. American Civil

Liberties Union, 521 U.S. 844, 870 (1997), courts applying these principles have

consistently rejected efforts to impose liability on online services (including

Plaintiffs’ members) for their judgments in moderating content. See, e.g., e-Ventures

Worldwide, LLC v. Google, Inc., 2017 U.S. Dist. LEXIS 88650, at *11 (M.D. Fla.

Feb. 8, 2017) (“Google’s actions in formulating rankings for its search engine and

in determining whether certain websites are contrary to Google’s guidelines and

thereby subject to removal are the same as decisions by a newspaper editor regarding

which content to publish… The First Amendment protects these decisions[.]”);

Davison v. Facebook, Inc., 370 F. Supp. 3d 621, 629 (E.D. Va. 2019) (“Facebook

has, as a private entity, the right to regulate the content of its platforms as it sees

fit.”), aff’d, 774 F. App’x 162 (4th Cir. 2019); Zhang v. Baidu.com, Inc., 10 F. Supp.

3d 433, 437, 440 (S.D.N.Y. 2014) (“the Government may not interfere with the

editorial judgments of private speakers on issues of public concern” and “there can

be no disagreement” that an internet search engine “is engaged in and transmits

speech” and may “exercise editorial discretion over its search results”). In short,



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Plaintiffs’ members have a “First Amendment right to decide what to publish and

what not to publish on [their] platform[s].” La‘Tiejira v. Facebook, 272 F. Supp. 3d

981, 991-92 (S.D. Tex. 2017); see also, e.g., Publius v. Boyer–Vine, 237 F. Supp. 3d

997, 1008 (E.D. Cal. 2017); Langdon v. Google, 474 F. Supp. 2d 622, 629 (D. Del.

2007).

      As explained below, a straightforward application of these established

principles demonstrates that S.B. 7072 violates the First Amendment. “What the

Constitution says is that these judgments are for the individual to make, not for the

Government to decree, even with the mandate or approval of a majority. Technology

expands the capacity to choose; and it denies the potential of this revolution if we

assume the Government is best positioned to make these choices for us.” United

States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 818 (2000).

             2.     The Act Is Subject to Strict Scrutiny on Multiple Independent
                    Grounds.

      Under the First Amendment, the government “has no power to restrict

expression because of its message, its ideas, its subject matter, or its content.” Police

Dep’t. of Chicago v. Mosley, 408 U.S. 92, 95 (1972). Yet that is exactly what the

Act here does—in myriad ways that cover an immense volume of expressive

activity. The Act is a quintessential example of a presumptively unconstitutional

speech restriction subject to strict scrutiny.




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               a.   The Act Imposes Impermissible Content and Speaker-Based Re-
                    strictions on the Targeted Services’ Protected Speech.

      “Content-based laws—those that target speech based on its communicative

content—are presumptively unconstitutional and may be justified only if the

government proves that they are narrowly tailored to serve compelling state inter-

ests.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015). Likewise, “[b]ecause

speech restrictions based on the identity of the speaker are all too often simply a

means to control content, the Supreme Court has insisted that laws favoring some

speakers over others demand strict scrutiny when the legislature’s speaker

preference reflects a content preference.” Id. at 170 (internal citations omitted).

Multiple provisions of the Act evince improper content- and speaker-based

preferences.

      Journalistic Enterprises and Candidate Provisions. Sections 106.071 and

501.2041 impose special restrictions on covered services’ editorial judgments

concerning “journalistic entities” and political “candidates.” These sweeping

provisions categorically prohibit a “social media platform” from: (1) taking any

action to remove, sequence, and provide more or less prominence to content (broadly

and misleadingly termed “censor,” “deplatform,” and “shadow ban”) posted by

“journalistic enterprises” (expansively defined) “based on the content of its

publication or broadcast,” Sec. 501.2041(2)(j); (2) “willfully” terminating or

suspending the account of any “candidate” for longer than 14 days, Sec. 106.072(2);


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and (3) using content-moderation algorithms or automated processes “for content

and material posted by or about” a candidate, Sec. 501.2041(2)(h).

      By their terms, these provisions “regulate[] speech by particular subject

matter” and “communicative content.” Reed, 576 U.S. at 163. The Act subjects

speech “by or about” political candidates to different rules than other speech.

Likewise, the Act restricts digital services from moderating content posted by a

“journalistic enterprise” “based on the content” of the post—unless it is “obscene.”

Sec. 501.2041(2)(j). “That is about as content-based as it gets.” Barr v. Am. Ass’n of

Political Consultants, 140 S. Ct. 2335, 2346 (2020); accord Washington Post v.

McManus, 944 F.3d 506, 513 (4th Cir. 2019) (law that “singles out one... [type of]

campaign-related speech—for regulatory attention” is “content-based”). These

provisions also play favorites among classes of speakers, giving two preferred

groups—but not other speakers—a right to categorically override the editorial

judgments of online services. These content- and speaker-based restrictions strike at

the heart of the targeted companies’ First Amendment rights; after all, “[f]orbidding

the government from choosing favored and disfavored messages is at the core of the

First Amendment's free-speech guarantee.” Otto, 981 F.3d at 861.

      By imposing these preferences, the Act interferes with private entities’ rights

to associate with types of expression they find appropriate and to create communities

for those interested in the content authorized by their policies. Pavlovic ¶¶ 9-12;



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Potts ¶¶ 22-30; Veitch ¶¶ 33-34. The Act compels association with both government-

favored parties and their speech, even where that speech violates the businesses’

rules and community standards. The Act does not merely preclude “social media

platforms” from terminating the accounts of candidates or removing content posted

by “journalistic enterprises”; it even forbids companies from posting their own re-

sponses to government-favored speech. Sec. 501.2041(1)(b), (2)(j). Such “forced

associations that burden protected speech are impermissible.” Pacific Gas & Elec.

Co., 475 U.S. at 12.

      “Consistency” Provision”. The Act does not just play favorites based on

content and speakers. Section 501.2041 imposes an even broader mandate: virtually

every moderation decision by a covered service must be executed “in a consistent

manner among its users.” Sec. 501.2041(2)(b). This “consisten[cy]” requirement is

facially content-based: it “target[s] speech based on its communicative content” and

“cannot be justified without reference to the content of the regulated speech.” Reed,

576 U.S. at 164. “One reliable way to tell if a law restricting speech is content-based

is to ask whether enforcement authorities must examine the content of the message

that is conveyed to know whether the law has been violated.” Otto, 981 F.3d at 862

(citation and quotation omitted). That is certainly true here. To the extent that this

consistency mandate is even intelligible (infra at 43-44), evaluating whether a

moderation decision is “consistent” requires comparing the content at issue to other



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content that was moderated differently (or not at all) and assessing the substance of

the service’s editorial judgment. “Consistent” content moderation is legal;

“inconsistent” content moderation is not. That is anything but content-neutral.

      Compelled Speech Provisions. “Time and again, the Supreme Court has made

clear that it makes little difference for First Amendment purposes whether the

government acts as censor or conductor.” McManus, 944 F.3d at 514-15 (citation

and quotation omitted); accord Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l,

Inc., 570 U.S. 205, 213 (2013) (“freedom of speech prohibits the government from

telling people what they must say”). This rule applies “equally to statements of fact

the speaker would rather avoid.” Hurley, 515 U.S. at 573; accord Riley v. Nat’l Fed’n

of the Blind, 487 U.S. 781, 797-98 (1988). And because “[m]andating speech that a

speaker would not otherwise make necessarily alters the content of the speech,”

Riley, 487 U.S. at 795, compelled speech requirements are necessarily content-

based, “presumptively unconstitutional,” and subject to strict scrutiny, Nat’l Inst. of

Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2371 (2018).

      The Act compels “social media platforms” to speak in various ways—most

obviously through its mandatory notice provisions. Unless the subject content is

legally “obscene,” Sec. 501.2041(4), every single time a covered service removes,

limits exposure to, sequences content, or suspends a “user”—or, to use the Act’s




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expansive scare-terms, “censors,” “shadow bans,” or “deplatforms”—the Act

compels the service to send a detailed written notice including:

      ● “a thorough rationale” explaining why the moderation action was taken;

      ● “how” the service learned of the material; and

      ● a “thorough explanation of the algorithms used, if any, to identify or flag
        the user’s content or material as objectionable.” Sec. 501.2041(3)(a)-(d).

      While these facially content-based compelled speech obligations would them-

selves trigger strict scrutiny, the need for exacting scrutiny is compounded because

the duty to speak is triggered by the covered service’s own speech. A service that

does not act to curate user content, or that posts no response to that content, need not

provide these notices. But every time a service exercises its First Amendment rights

in those ways, it faces an onerous duty to speak in the specific manner the State has

directed—powerfully chilling its curatorial and affirmative speech.

      “Lawmakers may no more silence unwanted speech by burdening its utterance

than by censoring its content.” Sorrell, 564 U.S. at 556; accord Becerra, 138 S. Ct.

at 2378 (invalidating “an unduly burdensome disclosure requirement that will chill

[] protected speech”); McManus, 944 F.3d at 518 (affirming preliminary injunction

against state law requiring digital platforms to make certain factual disclosures about

published political advertisements, for “intrud[ing] into the function of editors and

forc[ing] news publishers to speak in a way they would not otherwise”). That is why




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“content-based burdens must satisfy the same rigorous scrutiny as... content-based

bans.” Playboy, 529 U.S. at 812.

       Additional Content-Moderation Restrictions. On top of the provisions

discussed above, the Act burdens protected editorial judgments in various additional

ways, including by:

       ● limiting rule changes to once every 30 days and requiring prior notice of
         any changes before taking action (Section 501.2041(2)(c); see Veitch ¶21);

       ● allowing users to “opt out” of algorithms used to order, curate, and regulate
         content (Section 501.2041(2)(f)(2); see Veitch ¶20);

       ● requiring services to inform users of such minutiae as the number of other
         users who have been shown their content (Section 501.2041(2)(e)); and

       ● mandating that services must put their content-moderation algorithms into
         categories (Section 501.2041(2)(f)(1); see Potts ¶29).

Each of these provisions is designed to increase the burdens (and costs) associated

with every content moderation decision, making each one so onerous that the service

avoids it. These restrictions, and their corresponding chilling effects on protected

speech, further require strict scrutiny.

              b.     The Act Unconstitutionally Targets a Select Group of “Social
                     Media” Entities for Their Protected Speech and Perceived Ide-
                     ology.

      The Act warrants strict scrutiny for yet another overarching reason: Its pur-

pose and effect is to single out a particular class of “social media” entities for special,

speaker-based restrictions on their speech—and worse, precisely because the State

disfavors their perceived political viewpoints. The Supreme Court’s “precedents are


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deeply skeptical of laws that distinguish among different speakers, allowing speech

by some but not others.” Becerra, 138 S. Ct at 2378. Because “either singling out

[media entities] as a whole or targeting individual [media entities] … poses a

particular danger of abuse,” Arkansas Writers’ Project v. Ragland, 481 U.S. 221,

231 (1987), laws that do so are “presumptively unconstitutional,” Minneapolis Star

& Tribune Co. v. Minn. Comm’r, 460 U.S. 575, 583 (1983). Such “[s]peaker-based

laws run the risk that ‘the State has left unburdened those speakers whose messages

are in accord with its own views.’” Becerra, 138 S. Ct at 2378 (quoting Sorrell, 564

U.S. at 580); accord Reed, 576 U.S. at 170 (“a law limiting the content of newspa-

pers, but only newspapers, could not evade strict scrutiny”).

      That is exactly the situation here. The Act singles out particular “social media

platforms,” saddling them—and only them—with a slew of onerous new burdens.

Much like a tax that “targets a small group within the press,” Ragland, 481 U.S. at

229, Florida’s selectively imposed restrictions target particular online media services

(defined principally based on size), thus triggering strict scrutiny. See Minneapolis

Star, 460 U.S. at 591 (invalidating size- and revenue-based taxation of newspapers).

      Strict scrutiny would be required even if there were “no evidence of an

improper censorial motive.” Ragland, 481 U.S. at 228. But the record here is packed

with such evidence. As the Governor’s signing statement confirms, the Act was




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overtly intended to target particular “social media” companies based on their per-

ceived political viewpoints—to hold these companies “accountable” because they

supposedly “discriminate in favor of the dominant Silicon Valley ideology.” The

Lieutenant Governor echoed the same theme, heralding the Act for fighting against

“the leftist media and big corporations” that “censor if you voice views that run

contrary to their radical leftist narrative.” And one of the Act’s chief legislative spon-

sors celebrated “this historic piece of legislation” as targeting the supposed “biased

silencing” of “conservatives” by “Silicon Valley.” Signing Statement.

      This viewpoint-based hostility pervades the Act—with its extensive attacks

on the targeted services’ editorial decision-making, its grant of broad new

investigatory and enforcement powers to the Attorney General (including an express

power to subpoena “any algorithm used by a social media platform”), sec.

501.2041(8), its new private right of action, backed by penalties of $100,000 in

statutory damages and punitive damages, sec. 501.2041(6), and its politically

motivated theme-park exception, sec. 501.2041(1)(g). The State’s speaker- and

viewpoint-based retaliation is also powerfully reflected in Section 287.137 of the

Act, which subjects “social media platforms” alone to new antitrust blacklists that

categorically bar them, and any affiliates, from doing business with the state or

receiving various state benefits.




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      “Just as the inevitable effect of a statute on its face may render it

unconstitutional, a statute’s stated purposes may also be considered.” Sorrell, 564

U.S. at 565 (citation omitted). And here those improper purposes are clear. Few

things are more plainly unconstitutional than this “blatant and egregious form of

content discrimination.” Reed, 576 U.S. at 168. Indeed, “there is an argument that

such regulations are unconstitutional per se.” Otto, 981 F.3d at 864. As the Supreme

Court has held: “The government must abstain from regulating speech when the

specific motivating ideology or the opinion or perspective of the speaker is the

rationale for the restriction.” Rosenberger v. Rector and Visitors of Univ. of Va., 515

U.S. 819, 829 (1995); accord R.A.V. v. City of St. Paul, 505 U.S. 377, 386 (1992)

(“the government may not regulate use based on hostility—or favoritism—towards

the underlying message expressed”).

             3.     The Act Fails Strict Scrutiny.

      For all these reasons, the State has the burden to “prove that the restriction

furthers a compelling interest and is narrowly tailored to achieve that interest.” Reed,

576 U.S. at 171 (citation omitted). “Laws or regulations almost never survive this

demanding test.” Otto, 981 F.3d at 862; accord Brown v. Entm’t Merch. Ass’n, 564

U.S. 786, 799 (2011). This case is no exception.

             a.     The State Has No Legitimate Interest in Overriding the Content
                    Moderation Choices of Private Online Services.




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      The State cannot identify a legitimate—much less compelling—interest in

countermanding the protected editorial and curatorial speech of the targeted “social

media platforms.” The Act hints at several such interests, but none satisfy the First

Amendment.

      Protecting “Free Speech.” The Act’s “Findings” assert that “social media

platforms have transformed into the new public town square” and hold a “unique

place” in “preserving first amendment protections for all Floridians.” S.B. 7072

§ 1(4), (6). But the private forums targeted by the Act—however popular they might

be—are not state actors, and thus cannot violate anyone’s First Amendment rights.

See Prager Univ. v. Google LLC, 951 F.3d 991, 994 (9th Cir. 2020) (“Despite

YouTube’s ubiquity and its role as a public-facing platform, it remains a private

forum, not a public forum subject to judicial scrutiny under the First Amendment.”).

In Halleck, the Supreme Court confirmed the importance of this rule in protecting

“a robust sphere of individual liberty” (139 S. Ct. at 1934):

      If the rule were otherwise, all private property owners and private les-
      sees who open their property for speech would be subject to First
      Amendment constraints and would lose the ability to exercise what they
      deem to be appropriate editorial discretion within that open forum. Pri-
      vate property owners and private lessees would face the unappetizing
      choice of allowing all comers or closing the platform altogether.
Id. at 1930-31 (emphasis added). The State’s purported “free speech” justification

thus turns the First Amendment on its head. It impermissibly seeks to “expand

governmental control while restricting individual liberty and private enterprise.” Id.


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at 1934. But even beyond that, the “State cannot advance some points of view by

burdening the expression of others.” Pacific Gas, 475 U.S. at 20; accord Sorrell,

564 U.S. at 578-79 (“The State may not burden the speech of others in order to tilt

public debate in a preferred direction.”). “[T]he concept that government may

restrict the speech of some elements of our society in order to enhance the relative

voice of others is wholly foreign to the First Amendment.” Buckley v. Valeo, 424

U.S. 1, 48–49 (1976).

      Mandating “Consistent” and “Fair” Editorial Judgments. The Act likewise

asserts that the State “has a substantial interest in protecting its residents from

inconsistent and unfair actions by social media platforms.” Sec. 1(10). This too fails

as a compelling interest. While dressed up in the language of “protecting” consum-

ers, this finding simply confirms the State’s intent to override private entities’

protected editorial and curatorial judgments. The State apparently believes these

companies have exercised their First Amendment rights in “unfair,” “inconsistent,”

or biased ways, and aims to combat their perceived political viewpoints, which the

government finds distasteful. Signing Statement. But this very idea “grates on the

First Amendment, for it amounts to nothing less than a proposal to limit speech in

the service of orthodox expression.” Hurley, 515 U.S. at 579. “Disapproval of a

private speaker’s statement does not legitimize use of the [State’s] power to compel

the speaker to alter the message by including one more acceptable to others.” Id. at



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581 (emphasis added); accord Tornillo, 418 U.S. at 256 (“press responsibility is not

mandated by the Constitution and like many other virtues it cannot be legislated”);

Otto, 981 F.3d at 859 (“the First Amendment has no carveout for controversial

speech”).

      The same is true of the Act’s demand for “consistency.” That the government

might believe a private party has exercised its speech rights in inconsistent ways

does not authorize the government to declare such inconsistency illegal—and

threaten the speaker with enforcement actions and statutory penalties. “[B]eliefs

need not be acceptable, logical, consistent, or comprehensible to others in order to

merit First Amendment protection.” Thomas v. Review Bd., 450 U.S. 707, 714

(1981). The purpose of protecting editorial judgment is to allow private entities to

make such decisions for themselves. See Turner, 512 U.S. at 641. That includes the

right to make difficult or context-specific decisions in ways that might seem

inconsistent, or simply to modify or refine community standards and their

application over time, as the services deem appropriate in the face of new challenges.

After all, “the basic principles of freedom of speech and the press, like the First

Amendment’s command, do not vary when a new and different medium for commu-

nications appears.” Brown, 564 U.S. at 790.

      In short, Florida has neither legitimate nor compelling interests in imposing

its own views of “consistent” editorial judgments—or in otherwise tying the hands



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of private online services, for example by prohibiting them from changing their

policies more than once every 30 days. Sec. 501.2041(2)(c). That holds true no mat-

ter how “fair or unfair” those judgments might seem to government officials.

Tornillo, 418 U.S. at 258; accord e-Ventures, 2017 U.S. Dist. LEXIS 88650, at *12

(same). Put simply, the State “is not free to interfere with speech for no better reason

than promoting an approved message or discouraging a disfavored one, however

enlightened either purpose may strike the government.” Hurley, 515 U.S. at 579.

      Common Carrier Treatment. The legislative “findings” also suggest that

“[s]ocial media platforms” should be “treated similarly to common carriers.” Section

1(6). But these services are nothing of the sort. “To be a common carrier, a company

[must] serve the public indiscriminately and not ‘make individualized decisions, in

particular cases, whether and on what terms to deal.’” Am. Orient Exp. Ry. Co. v.

Surface Transp. Bd., 484 F.3d 554, 557 (D.C. Cir. 2007); see also, e.g., Blitz Telecom

Consulting, LLC v. Peerless Network, Inc., 151 F. Supp. 3d 1294, 1308 (M.D. Fla.

2015). But just as “Benjamin Franklin did not have to operate his newspaper as ‘a

stagecoach, with seats for everyone,’” Halleck, 139 S. Ct at 1931 (citation omitted),

online services like Plaintiffs’ members need not be—and have never been—

indiscriminately open to all or indifferent about who uses them and for what purpose.

Rather, they maintain detailed content standards, and they enforce them daily by

making individualized and content-based decisions about what speech and speakers



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are, or are not, welcome. E.g., Howard v. America Online, Inc., 208 F.3d 741, 753

(9th Cir. 2000) (AOL was not a “common carrier” because it “does not act as a mere

conduit for information”; exchanged messages were “under AOL’s control and may

be reformatted or edited”). Florida has no valid interest in trying to transform these

services into something akin to common carriers. Reno, 521 U.S. at 868-69 (explain-

ing that “the vast democratic forums of the Internet” have never “been subject to the

type of government supervision and regulation that has attended the broadcast

industry”).

              b.    The Act Is Not Narrowly Tailored to Meet Whatever Purpose the
                    State Might Advance to Support It.

      While the Court need go no further to find Plaintiffs likely to succeed on the

merits, it is equally clear that the Act fails the First Amendment’s narrow tailoring

requirement. “[I]t is not enough for the defendants to identify a compelling interest.

To survive strict scrutiny, they must prove that the [Act] ‘furthers’ that compelling

interest and [is] ‘narrowly tailored to that end.’” Otto, 981 F.3d at 868 (quoting Reed,

576 U.S. at 171). The “government carries the burden of proof and, ‘because it bears

the risk of uncertainty, ambiguous proof will not’ satisfy the ‘demanding standard’

it must meet.” Id. (quoting Brown, 564 U.S. at 799-800). “If a less restrictive

alternative would serve the Government’s purpose, the legislature must use that

alternative.” Playboy, 529 U.S. at 813.




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        Even assuming, arguendo, the State had any legitimate interest to advance, the

Act is anything but narrowly tailored—it is a broad-based infringement of First

Amendment rights.

        Journalistic Enterprises and Candidate Provisions. First, the Act’s expansive

“journalistic enterprise” and “political candidate” provisions prohibit essentially all

moderation of these favored speakers’ speech, no matter how minor—or justified—

the editorial decision may be. Under the Act, Plaintiffs’ members are categorically

prohibited from exercising any editorial judgment over (non-obscene) material

posted by any “journalistic enterprise,” and from terminating the account of a

“candidate” no matter the circumstances.7 That means that anyone from a grand wiz-

ard of the Ku Klux Klan to a foreign intelligence agent is immune from having their

account terminated after paying the modest filing fee to run for state office. Fla. Stat.

§ 99.061(3). Likewise, if a “journalistic enterprise” posted graphic images of the

killing of American soldiers, a covered service would violate Florida law if it




   7
     Making matters even worse, there is no requirement that the service provider
have any idea that content was posted by a “journalistic enterprise” in the broad
and unusual way the Act defines that term. Sec. 501.2041(1)(d), (2)(j). This lack of
any knowledge requirement could transform an ordinary moderation decision into
a violation of Florida law simply because—unbeknownst to the service—the user
in question happened to qualify as a “journalistic enterprise.” “Any statute that
chills the exercise of First Amendment rights must contain a knowledge element,”
Video Software Dealers v. Webster, 968 F.3d 684, 690 (8th Cir. 1992), but that is
simply missing here. Accord Mishkin v. New York, 383 U.S. 502, 511 (1966).


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“restrict[ed]” who could see those images or otherwise “limit[ed]” their exposure—

or even if it appended a label warning users that the post may contain upsetting

material. These examples only scratch the surface of the countless ways that these

provisions “unnecessarily circumscribe protected expression.” Republican Party of

Minn. v. White, 536 U.S. 765, 775 (2002); Pavlovic ¶11; Potts ¶¶15, 22-24.

      “Consistency” Provision. Likewise, the “consistency” provision applies to

nearly every conceivable class of moderation decisions, including regulating,

restricting, editing, inhibiting the publication of content—or even limiting its

exposure or posting an addendum to it. Sec. 501.2041(1)(b), (2)(b); Potts ¶26; Veitch

¶28; Schruers ¶33. And it provides no exceptions. A service provider would

apparently violate this mandate where it was undisputed that its decision to moderate

a given piece of content was “correct”—for example, because the material was

pornography that plainly violated the service’s rules, or was a known password

phishing ploy or “spam”—if the user could point to arguably similar material that

the provider had not (yet) removed. The State cannot explain why anything like that

is necessary—much less that it is “the least restrictive means for addressing a real

problem.” Playboy, 529 U.S. at 827.

      Compelled Notice Provisions. So too for the notice requirements—which

demand the same detailed notice for every instance of moderation, whatever its type

or significance. Any act to “limit” the “exposure” of user content or to “regulate”



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such content in any way is treated exactly the same. Sec. 501.2041(1)(b), (1)(f),

(2)(d). Complying would require covered services to send potentially millions of

notices each day. Veitch ¶32. And each notice must include “precise” and

“thorough” explanations, along with disclosures of potentially sensitive internal in-

formation, regardless of how minor or routine the moderation—and even where it

was occasioned by the misconduct of fraudsters, spammers, terrorists, child

pornographers, or sex traffickers. Sec. 501.2041(3). In that regard, the Act’s mandate

is as dangerous as it is overbroad, giving bad actors detailed insights into internal

content moderation systems and practices that can help them circumvent or defeat

the efforts to address abusive and harmful content. See, e.g., Rumenap ¶10; Potts

¶28. “The First Amendment requires that the Government’s chosen restriction on the

speech at issue be actually necessary to achieve its interest.” United States v. Alvarez,

132 S. Ct. 2537, 2549 (2012). Florida’s rigid, one-size-fits-all compelled speech

regime fails that test. Its unnecessarily burdensome provisions seem designed to

deter covered services from making editorial judgments.

      Theme-Park Exception. Finally, the arbitrary “theme park” exception under-

scores that the Act cannot survive any level of First Amendment scrutiny. Sec.

501.2041(1)(g). In addition to the other ways in which the Act is fatally

underinclusive (see Compl. ¶¶56-57, 92), this politically motivated carveout both

“diminish[es] the credibility of the government’s rationale for restricting speech in



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the first place,” and reflects an impermissible “attempt to give one side of a debatable

public question an advantage in expressing its views to the people.” City of Ladue v.

Gilleo, 512 U.S. 43, 51-53 (1994). It also renders the Act fatally underinclusive, as

a “law cannot be regarded as protecting an interest of the highest order, and thus as

justifying a restriction on truthful speech, when it leaves appreciable damage to that

supposedly vital interest unprohibited.” Reed, 576 U.S. at 172; cf. Florida Star v.

BJF, 491 U.S. 524, 540 (1991).

      In sum, the Act is fundamentally at odds with the First Amendment. Its

content-, speaker-, and viewpoint-based obligations do not advance any legitimate,

much less compelling, government interest; and even if they did, they are not

remotely narrowly tailored. Instead, the Act serves only to retaliate against selected

private speakers for their protected expression, and to deter the exercise of their First

Amendment rights. “The Speech Clause has no more certain antithesis.” Hurley, 515

U.S. at 579.

      B.       The Act Is Unconstitutionally Vague.

      The Act’s attack on protected speech suffers from another constitutional

infirmity. “A fundamental principle in our legal system is that laws which regulate

persons or entities must give fair notice of conduct that is forbidden or required.”

FCC v. Fox TV Stations, Inc., 567 U.S. 239, 253 (2012). The rule “requires the

invalidation” of any law that fails “to provide a person of ordinary intelligence fair



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notice of what is prohibited, or is so standardless that it authorizes or encourages

seriously discriminatory enforcement.” Id. “When speech is involved, rigorous

adherence to those requirements is necessary to ensure that ambiguity does not chill

protected speech.” Id. As the Eleventh Circuit has explained: “Standards of permis-

sible statutory vagueness are strict in the area of free expression,” Wollschlaeger v.

Governor, 848 F.3d 1293, 1320 (11th Cir. 2017) (en banc), because “vague measures

regulating first amendment freedoms enable low-level administrative officials to act

as censors, deciding for themselves which expressive activities to permit.” “The very

existence of this censorial power, regardless of how and whether it is exercised, is

unacceptable.” Harrell v. Fla. Bar, 608 F.3d 1241, 1258 (11th Cir. 2010) (citation

omitted).

      The Act fails this test, most palpably in its “consistency” requirement. Sec.

501.2041(2)(b). The key statutory term (“consistent manner”) is “in no way

defined.” Solomon v. Gainesville, 763 F.2d 1212, 1214 (11th Cir. 1985). This leaves

covered “social media platforms” to guess what decisions may (or may not) be

deemed “consistent.” There is no way to know what that means in the context of

online services that host an incalculable variety of content. A vague consistency

requirement would chill any number of judgment calls that depend on context or

require educational, scientific, or artistic evaluations. For example, imagine two

posts containing the same “threatening” language, where one is a direct comment



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and the other takes the form of song lyrics. Would it violate the Act to remove the

former but not the latter? If a covered service permits commentary critical of

immigration, is it allowed under the Act to remove comments attacking immigrants?

Must it apply its hate-speech rules to gender-based content in the same way as it

does to posts about race or religion? Countless similar examples abound, and the Act

sheds no light on any of the endless real-world choices that service providers

confront every day. Potts ¶¶26-27.

      Equally opaque is the Act’s provision allowing users to “opt out of post-

prioritization and shadow banning algorithm categories to allow sequential or

chronological posts and content.” Sec. 501.2041(2)(f)(2). It is entirely unclear what

this means. Does it give content-creators the right to opt out of how the service

arranges their content, or does it allow viewers to demand to see posts in “sequential

and chronological” order? And how are covered services supposed to comply?

“Post-prioritization” is defined to include any action placing “certain content or

material ahead of, below, or in a more or less prominent position than others in a

newsfeed, a feed, a view or search results.” Sec. 501.2041(1)(e) (emphasis added).

But how could a search engine possibly stop placing some content ahead of—or

below—other content? Veitch ¶33; Potts ¶5. How could a service delivering a news

feed avoid making some content “more” or “less” prominent than other content? The

First Amendment—and due process—demand that Florida make clear to regulated



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parties “what is required of them so they may act accordingly.” Fox, 132 S. Ct. at

2317. The Act provides nothing but confusion.

      “In this quintessential First Amendment area, the State may not hinge liability

on a phrase so ambiguous in nature. And it most certainly may not do so when

devastating consequences attach to potential violations.” Wollschlaeger, 848 F.3d at

1337. Here, those who run afoul of the Act face “civil or administrative action,” and

any user claiming a failure to apply moderation standards “in a consistent manner”

may bring a private cause of action in which the court can award “up to $100,000”

per violation and even punitive damages. Sec. 501.2041(5), (6). By leaving services,

regulators, and users to subjectively decide what is “consistent” (and thus lawful) or

inconsistent (and thus illegal), the Act all but “encourage[s] erratic administration.”

Interstate Circuit, Inc. v. Dallas, 390 U.S. 676, 685 (1968). Yet “[t]he prohibition

against vague regulations of speech is based in part on the need to eliminate the

impermissible risk of discriminatory enforcement.” Gentile v. State Bar of Nev., 501

U.S. 1030, 1051 (1991).

      This creates a profound chilling effect. Faced with an amorphous legal

requirement, backed by a strict-liability rule, services may reasonably conclude that

the only practical way to protect themselves from legal sanctions based on alleged

inconsistency is to forgo content moderation, even of highly offensive or

objectionable material. In fact, that seems to be the State’s goal. With its vague



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mandate, coupled with threats of endless enforcement, wide-ranging investigations,

and draconian liability, the Act appears designed not to regulate actual inconsistency

or “unfairness,” but rather to create so much uncertainty that the targeted online

services will simply give up on—or at least greatly curtail—their editorial and

curatorial efforts. “This vagueness is inconsistent with the command of the First

Amendment.” Wollschlaeger, 848 F.3d at 1137 (affirming grant of preliminary in-

junction against state law banning doctors from “unnecessarily harassing a patient”);

accord Broward Coal. of Condominiums, Homeowners Associations & Cmty.

Organizations Inc. v. Browning, 2008 WL 4791004, at *12 (N.D. Fla. Oct. 29, 2008)

(granting preliminary injunction on vagueness grounds where “it is impossible to

know—in advance—whether the law will apply to a particular communication about

candidates”).

      C.     The Act Is Preempted by Section 230.

      Apart from its First Amendment infirmities, S.B. 7072 is expressly preempted

by Section 230 of the Communications Decency Act. Congress enacted Section 230

to protect the “editorial and self-regulatory functions” of online services. Ben Ezra,

Weinstein, & Co. v. America Online Inc., 206 F.3d 980, 986 (10th Cir. 2000). Section

230’s title is “Protection for private blocking and screening of offensive material.”

47 U.S.C. § 230. Among its core purposes was to “encourage service providers to

self-regulate the dissemination of offensive material over their services.” Doe v. Am.



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Online, Inc., 783 So. 2d 1010, 1014 (Fla. 2001). Section 230 thus provides online

service providers “with the discretion to identify and remove what they consider

objectionable content from their platforms without incurring liability.” Domen, 991

F.3d at 68. Under Section 230, state efforts “to hold a service provider liable for its

exercise of a publisher’s traditional editorial functions—such as deciding whether to

publish, withdraw, postpone or alter content—are barred.” Zeran, 129 F.3d at 330;

accord Barnes v. Yahoo, 570 F.3d 1096, 1110 (9th Cir. 2009) (explaining that

Section 230 “shields from liability all publication decisions, whether to edit, to

remove, or to post, with respect to content generated entirely by third parties”).

      In creating this “broad federal immunity,” Almeida v. Amazon.com, Inc., 456

F.3d 1316, 1321 (11th Cir. 2016), Congress gave statutory form to the core First

Amendment right to editorial judgment. See Google, Inc. v. Hood, 822 F.3d 212,

220 (5th Cir. 2016) (“First Amendment values … drive the CDA.”). At the same

time, Section 230 was intended to set a uniform federal Internet policy that protects

online services from a quagmire of potentially conflicting state laws. See 47 U.S.C.

§ 230(b)(2); 141 Cong. Rec. H-8640-01, 8670 (statement of Rep. Cox) (“we do not

wish to have” an “army of bureaucrats regulating the Internet”). Conflicting state

laws are expressly and categorically preempted: “[N]o liability may be imposed




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under any State or local law that is inconsistent with this section.” 47 U.S.C.

§ 230(e)(3).8

        The operative provisions of Section 230(c) immunize providers of “interactive

computer services”—a term that includes all of Plaintiffs’ members, and covers

“social media platforms” as defined in the Act—from liability for (i) “any action

voluntarily taken in good faith to restrict access to or availability of material that the

provider or user considers to be … objectionable, whether or not such material is

constitutionally protected,” 47 U.S.C. § 230(c)(2)(A), and (ii) any other state-law

effort to treat providers as the “publisher or speaker” of others’ content, id.

§ 230(c)(1).9 S.B. 7072 runs headlong into these federal protections.




   8
     S.B. 7072 states that it “may only be enforced to the extent not inconsistent
with federal law and 47 U.S.C. s. 230(e)(3).” Sec. 106.072(5); 501.2041(9). But
this provision only restates what the Supremacy Clause—and Section 230’s
preemption provision—already make clear. It certainly does not save the Act from
preemption. Indeed, it confirms that the Act is unenforceable even on its own
terms. Cf. Hias, Inc. v. Trump, 985 F.3d 309, 324-25 (4th Cir. 2021) (rejecting
government’s effort to rely on similar saving clause to avoid judicial review).
   9
     Applying Section 230(c)(1) specifically, courts have held that a wide range of
editorial judgments—including removing user content, suspending or terminating
user accounts, and restricting access to user content—are immune. See, e.g., Mezey
v. Twitter, Inc., 2018 WL 5306769, at *1 (S.D. Fla. July 19, 2018); Sikhs for
Justice “SFJ”, Inc. v. Facebook, Inc., 144 F. Supp. 3d 1088, 1095-96 (N.D. Cal.
2015), aff’d, 697 F. App’x 526 (9th Cir. 2017); Murphy v. Twitter, Inc., 60 Cal.
App. 5th 12, 27 (2021).


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      By dictating when and how covered services may remove, restrict, or limit the

exposure of third-party content in all the ways described above, the Act exposes

online services to liability for exactly what Section 230(c) immunizes: “restrict[ing]

access to or availability of” content that the service may deem objectionable. See,

e.g., Domen, 991 F.3d at 68, 72 (Section 230 immunized online service for deleting

account that posted sexual-orientation conversion therapy videos); Daniels v.

Alphabet, 2021 WL 1222166, at *11-13 (N.D. Cal. Mar. 31, 2021) (same for

YouTube’s removal of conspiracy-theory videos); Murphy, 60 Cal. App. 5th at 27

(same for Twitter’s suspension of an account for violations of its hateful conduct

rules). Similarly, whereas Section 230 confers “significant subjective discretion” on

service providers and does not “mandate perfect enforcement of a platform’s content

policies,” Domen, 991 F.3d at 68, 72-73, the Act purports to prohibit “inconsistent”

moderation, making illegal under state law a vast set of editorial judgments protected

by federal law.

      As the Florida Supreme Court has recognized, “Congress’ clear objective in

passing § 230 ... was to encourage the development of technologies, procedures and

techniques by which objectionable material could be blocked or deleted either by the

interactive computer service provider itself or by the families and schools receiving

information via the Internet.” Doe, 783 So. 2d at 1016 (citation omitted). Florida’s

effort to make such technologies, procedures, and techniques illegal—and to



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threaten online services providers with broad liability for applying them—is

unequivocally preempted by Section 230.

II.    PLAINTIFFS’ MEMBER COMPANIES FACE IRREPARABLE
       INJURY.

       Because Plaintiffs are likely to succeed on the merits of their First

Amendment and preemption challenge to the Act, “they also meet the remaining

[preliminary injunction] requirements as a necessary legal consequence.” Otto, 981

F.3d at 870; see also FF Cosmetics FL, Inc. v. City of Miami Beach, 866 F.3d 1290,

1298 (11th Cir. 2017); KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1271

(11th Cir. 2006) (the “remaining injunction considerations” are “easily satisfied” in

case challenging law on First Amendment grounds); Roman Catholic Diocese of

Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (per curiam) (quoting Elrod v. Burns,

427 U.S. 347, 373 (1976) (plurality opinion)).

       The first non-merits factor, irreparable injury, exists in spades here. Should

the law be allowed to take effect, Plaintiffs’ member companies will suffer an

immediate loss of critical First Amendment rights, which the Supreme Court and

Eleventh Circuit have consistently made clear is sufficient, standing alone, to

constitute irreparable harm. Otto, 981 F.3d at 870 (“Because the ordinances are an

unconstitutional direct penalization of protected speech, continued enforcement,

even for minimal periods of time, constitutes a per se irreparable injury.”); FF

Cosmetics FL, 866 F.3d at 1298 (“[A]n ongoing violation of the First Amendment


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constitutes an irreparable injury.”); KH Outdoor, 458 F.3d at 1271 (same); accord

Elrod, 427 U.S. at 373 (plurality opinion).

      Although no further injury is needed, the Act’s unconstitutional requirements

would also inflict immense practical harms on Plaintiffs’ members. As discussed

above, each time one of those companies moderates any content possibly involving

a Florida user, it risks violating the law—and facing both a possible enforcement

action by the Attorney General or Florida Elections Commission, and private

lawsuits by users whom the Act arms with the right to seek $100,000 in statutory

damages for every proven claim. Sec. 501.2041(5), (6). Indeed, the State has

trumpeted plans to begin aggressive enforcement of the Act imminently. Thus,

unless the Act is enjoined, those companies will face a perilous choice between

exposing themselves to massive liability for their speech, or abandoning or

drastically curtailing their constitutionally protected content moderation efforts.

Veitch ¶20; Potts ¶¶21, 30.

      That would come at a massive cost. In addition to the per se harm from the

loss of First Amendment rights, an online service that forgoes efforts to moderate

hosted content faces the prospect of allowing all manner of illegal, dangerous, and

highly objectionable material to proliferate on its system. Schruers ¶20; Pavlovic ¶8;

Veitch ¶¶16-17; Potts ¶14. That, in turn, will inevitably tarnish the services’ brands,

reputations, and the online environments they have carefully cultivated. Schruers



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¶¶27, 35; Pavlovic ¶¶11-12; Potts ¶30; Veitch ¶8. Users, including families and

minors, who frequently choose these services because they safely moderate content,

will instead be exposed to content that does not belong there. Potts ¶¶26-27; Veitch

¶30. Advertisers may find their ads adjacent to content they find abhorrent and with-

draw from the services. Szabo ¶¶6-9; Potts ¶8. Users will also lose the features and

functionalities on which they have come to rely: accessing the organized content that

they find most useful, relevant, entertaining, or interesting. Pavlovic ¶13. All of this

will irreparably damage the goodwill that the services have built, over decades of

work, with their hundreds of millions of users. See, e.g., Jysk Bed’N Linen v. Dutta-

Roy, 810 F.3d 767, 780 (11th Cir. 2015) (“[T]he loss of customers and goodwill is

an irreparable injury.”). These immediate and irreparable harms further warrant

injunctive relief.

III.    THE BALANCE OF EQUITIES FAVORS AN INJUNCTION.

        The balance of equities tilts just as decisively in favor of injunctive relief, as

confirmed by Eleventh Circuit decisions granting preliminary injunctions in First

Amendment challenges to state and local laws. As the court explained in KH

Outdoor, for example, “the threatened injury to the plaintiff clearly outweighs

whatever damage the injunction may cause the [government]. As noted, even a

temporary infringement of First Amendment rights constitutes a serious and

substantial injury, and the [government] has no legitimate interest in enforcing an



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unconstitutional ordinance.” 458 F.3d at 1272; accord Otto, 981 F.3d at 870; FF

Cosmetics FL, 866 F.3d at 1298; McMahon v. City of Panama City Beach, 180 F.

Supp. 3d 1076, 1111 (N.D. Fla. 2016).

IV.    AN INJUNCTION WOULD SERVE THE PUBLIC INTEREST.
       Finally, the Eleventh Circuit has made clear that, in cases like this, where the

government is the “nonmovant,” the “third and fourth requirements … can be

consolidated. It is clear that neither the government nor the public has any legitimate

interest in enforcing an unconstitutional ordinance.” Otto, 981 F.3d at 870; accord

Scott v. Roberts, 612 F.3d 1279, 1297 (11th Cir. 2010) (“[T]he public, when the state

is a party asserting harm, has no interest in enforcing an unconstitutional law.”); KH

Outdoor, 458 F.3d at 1272 (same); McMahon, 180 F. Supp. 3d at 1111 (“[I]t is

always in the public interest to protect First Amendment liberties.”).

       While the Court need go no further, the public interest here would be

affirmatively advanced by an injunction preventing enforcement of the Act, as the

statute threatens serious harm to a wide range of Internet users. The Act immediately

ties the hands of many of the largest online services in limiting the reach of illegal

and dangerous content—including material that seeks to recruit American teenagers

to join terrorist organizations, glorifies child abuse, aims to defraud seniors out of

their retirement savings, or tries to humiliate or threaten people by posting their

private information online. Schruers ¶20; Rumenap ¶¶3, 8-11; Veitch ¶¶20-22; Potts



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¶¶14, 30; Pavlovic ¶10. This is no small issue. In the first three months of 2021 alone,

over five million videos were removed from YouTube to ensure child safety.10

Nearly 1.5 million videos were removed for violent or graphic content. In the same

time frame, Facebook took action against 905 million posts containing spam.11

      Of course, the Act does not limit only removals of objectionable content; in

many instances, it prevents covered services from taking any action to limit

exposure, age-restrict, or even add warning labels to user material. Veitch ¶30; Potts

¶¶26-27; Rumenap ¶8. That is a gift to scammers, spammers, pornographers, sex

traffickers, agents of foreign governments, and violent extremists—all of whom will

exploit the Act’s vague restrictions and massive statutory damages provision to

threaten online services and deter them from exercising their First Amendment rights

to limit abusive and antisocial behavior on their private property. Veitch ¶20; Potts

¶30; Pavlovic ¶¶8-12. In short, by proscribing and burdening everyday content

moderation and curation efforts by leading online services, the Act disserves the

public.




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  YouTube Transparency Report, https://transparencyreport.google.com/youtube-
policy/removals?hl=en
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   Facebook Transparency Report, https://transparency.fb.com/data/community-
standards-enforcement/spam/facebook


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                                     CONCLUSION
      When the Supreme Court invalidated Congress’s first effort to restrict online

speech, it explained that the First Amendment does not allow the government to

“burn[] the house to roast the pig.” Reno, 521 U.S. at 882. Like that law, S.B. 7072

“threatens to torch a large segment of the Internet community.” Id. Plaintiffs

respectfully ask that the Court enjoin enforcement of the Act pending a final ruling

on the merits.

                    LOCAL RULE 7.1(B) CERTIFICATION
      Undersigned Counsel for Plaintiff Computer & Communications Industry

Association certifies that he conferred with counsel for Defendants Ashley Brooke

Moody, in her official capacity as Attorney General of the State of Florida, and for

Joni Alexis Poitier, Jason Todd Allen, John Martin Hayes, and Kymberlee Curry

Smith, in their official capacities as Commissioners of the Florida Elections

Commission, in a good faith effort to resolve the issue set forth herein. Those

Defendants do not consent to the relief requested herein. On June 2, 2021, Counsel

for Plaintiff conferred with counsel for Defendant Patrick Gillespie, in his official

capacity as Deputy Secretary of Business Operations of the Florida Department of

Management Services, but such counsel has not responded as to her client's position

at the time of filing this Motion.




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                   LOCAL RULE 7.1(F) CERTIFICATION
      Undersigned counsel for Plaintiff Computer & Communications Industry

Association certifies that this motion contains 12,489 words, not including the Table

of Contents and Table of Authorities.

                                          Respectfully submitted,


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                         CERTIFICATE OF SERVICE
      Counsel certifies that the foregoing document was electronically served on all

counsel of record via the CM/ECF system on this 3rd day of June, 2021. In

addition, because counsel for Defendants have not yet appeared in this case, I caused

a copy of this filing to be delivered today via e-mail to the following, by agreement

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